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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF PUERTO RICO


THE MUNICIPALITIES OF BAYAMÓN,                 Civil Case No. 3:22-cv-01550-SCC-HRV
CAGUAS, LOÍZA, LARES,
BARRANQUITAS, COMERÍO, CAYEY,
LAS MARÍAS, TRUJILLO ALTO, VEGA                Re:
BAJA, AÑASCO, CIDRA, AGUADILLA,                Consumer Fraud; Deceptive Business Prac-
AIBONITO, MOROVIS, MOCA, BARCE-                tices; Racketeer and Corrupt Organizations
LONETA, CAMUY, CATAÑO, SALINAS,                Act, 18 U.S.C. § 1962; Sherman Act, 15
ADJUNTAS, ARROYO, CULEBRA,                     U.S.C. § 1 et seq.; Public Nuisance; Strict
DORADO, GUAYNABO, HORMIGUEROS,                 Liability – Failure to Warn; Strict Liability –
JUNCOS, LAJAS, MANATÍ, NAGUABO,                Design Defect; Negligent Design Defect;
NARANJITO, UTUADO, VILLALBA,                   Private Nuisance; Unjust Enrichment
COAMO, OROCOVIS, VIEQUES, and
YABUCOA on behalf of themselves and oth-
ers similarly situated, known as the MUNICI-
PALITIES OF PUERTO RICO,

Plaintiffs,

v.

EXXON MOBIL CORP, SHELL PLC F.K.A.
ROYAL DUTCH SHELL PLC, CHEVRON
CORP, BP PLC, CONOCOPHILLIPS,
MOTIVA ENTERPRISES LLC, OCCI-
DENTAL PETROLEUM F.K.A. ANA-
DARKO PETROLEUM CORP, BHP, RIO
TINTO PLC, AMERICAN PETROLEUM IN-
STITUTE, XYZ CORPORATIONS 1-100,
and JOHN AND JANE DOES 1-100,

Defendants.



                 DEFENDANT CHEVRON CORPORATION’S
              MOTION TO DISMISS THE AMENDED COMPLAINT
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                                             INTRODUCTION1

         Defendants’ joint Rule 12(b)(6) motion to dismiss amply demonstrates that the Amended

Complaint fails to state a claim against any Defendant. The present brief confirms in more specific

detail why the Amended Complaint fails to state a claim as against Defendant Chevron Corpora-

tion (“Chevron”) in particular—which Plaintiffs concede has had no presence or operations in

Puerto Rico since 2012. See Am. Compl. ¶ 126.

         The Amended Complaint attempts to hold Chevron liable for lawful political advocacy and

petitioning activities, and thus runs headlong into the First Amendment. But because Plaintiffs

cannot identify any actionable speech or conduct by Chevron itself, Plaintiffs improperly seek to

pin liability on Chevron for the alleged speech of others. This, in turn, is based almost exclusively

on Chevron’s purported membership in trade associations or other groups—groups that themselves

engaged in protected, lawful speech and conduct. Plaintiffs’ claims against Chevron, therefore,

are doubly improper, foundering on the First Amendment both as a matter of substantive content

and impermissible derivative liability.

         The Amended Complaint alleges that Chevron’s liability arises from asserted membership

in trade and advocacy groups engaged with the political issues of climate change and transbound-

ary pollution. But “climate change” is a “matter[] of profound value and concern to the public,”

Janus v. Am. Fed’n of State, Cnty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2476 (2018)

(internal quotation marks omitted), and Chevron, like the other Defendants, has a right to speak


1
  As noted in the Joint Brief, on November 16, 2023, to facilitate and streamline the briefing on the anticipated motions
to dismiss, Plaintiffs and Defendants filed a Joint Motion For Extension of Time to Answer or Otherwise Respond to
the Complaint and to Establish Briefing Schedule and Other Procedural Terms Concerning Motion to Dismiss (ECF
Doc. No. 209, the “Joint Motion”). The Joint Motion requested an Order setting a briefing schedule for the motions
to dismiss and related papers (including 15-page individual Defendant briefs if particular Defendants so elected) and
granting other procedural stipulations, including page limitations on the motions, oppositions and replies and the pe-
riod of time that Plaintiffs or Defendants would have to file the corresponding papers. Id. ¶ 7. By Order entered on
November 27, 2023, the Court granted the Joint Motion. See ECF Doc. No. 211. Chevron files this separate brief
pursuant to the Joint Motion and the November 27 Order.
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publicly about these issues, both individually and collectively with others, without threat of gov-

ernmental interference. See Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 340 (2010).

Group liability for speech is strictly limited, for “[t]he First Amendment [ ] restricts the ability of

the State to impose liability on an individual solely because of his association with another.”

N.A.A.C.P. v. Claiborne Hardware Co., 458 U.S. 886, 918–19 (1982). But that is exactly what

the Amended Complaint attempts to do insofar as Chevron is concerned: hold Chevron liable for

disfavored alleged speech and for alleged membership in groups that themselves engaged in pro-

tected speech and petitioning activity. This attempt to silence entities that Plaintiffs view as their

political adversaries on public issues is a direct attack on the First Amendment. It cannot succeed.

       As for the substance of Plaintiffs’ claims against Chevron, the Amended Complaint relies

on conclusory allegations of a purported “conspiracy” to reduce regulation of fossil fuels or in-

crease their production as the basis for liability. This is because Plaintiffs have nothing else—no

alleged “facts” regarding Chevron’s own speech or own acts that Plaintiffs could even potentially

marshal to try to state a claim. Indeed, what few Chevron-specific allegations the Amended Com-

plaint does include are so sparse, so bereft of content, and overwhelmingly so stale—sometimes

decades-old—that they must be dismissed out of hand. Under any standard, these allegations fail

to state a claim, but they fall especially short of the requirement Rule 9(b) sets for allegations

sounding in fraud, which must be “state[d] with particularity.” Fed. R. Civ. P. 9(b).

       Earlier this month, in a substantially similar lawsuit, the Delaware Superior Court dis-

missed all misrepresentation-based claims because that complaint “failed to specifically identify

alleged misrepresentations for each individual defendant.” Delaware v. BP America, Inc., 2024

WL 98888, at *17 (Del. Sup. Ct. Jan. 9, 2024). The same is true here. This Court should follow

the Delaware court’s approach and dismiss all claims against Chevron.



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       In sum, with no basis for even the remotest plausible inference that Chevron participated

in any unlawful conduct under any standard, the Amended Complaint should be dismissed. And

because Plaintiffs have already amended once but failed to remedy any of the defects identified by

Chevron in its prior motion to dismiss, the dismissal should be with prejudice.

                                         ARGUMENT

I.   The Amended Complaint Improperly Attempts to Hold Chevron Liable for First
     Amendment-Protected Alleged Speech and Membership in Advocacy Groups, Not for
     Any Chevron-Specific Speech or Act

     The First Amendment does not permit plaintiffs, like the government actors here, to punish

disfavored persons for their speech or their associations with others, especially where subjects of

public interest are at issue. See Claiborne Hardware, 458 U.S. at 918–19. But this is exactly what

Plaintiffs here attempt to do, and they come nowhere close to overcoming those substantial con-

stitutional and pleading hurdles with respect to Chevron.

     A. Despite Its Length, the Complaint Rarely Mentions Chevron, Targeting It Instead
        in a Derivative Capacity

       The Amended Complaint spans 292 pages (plus 38 more for the Amended Racketeering

Statement), but it contains only a handful of allegations specific to Chevron. And these few,

threadbare allegations are so conclusory and superficial they cannot possibly suffice to establish

the sweeping liability to which Plaintiffs purport to lay claim.

     Plaintiffs allege that Chevron is a large energy company, Am. Compl. ¶¶ 120–32, that has

participated in trade groups and advocacy associations, such as the American Petroleum Institute

(“API”), the Western States Petroleum Association, The American Fuel and Petrochemical Man-

ufacturers, the Information Council for the Environment, the Global Climate Coalition (“GCC”);

and the API’s Global Climate Science Communications Team (GCST), id. ¶¶ 211, 406, 429–30;

Am. Racketeering Statement ¶¶ 2, 10. Chevron allegedly spent money “on climate lobbying,” Am.

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Compl. ¶ 518, and paid consultants who engaged in political lobbying, id. ¶ 669. The Amended

Complaint also alleges that Chevron obtained patents for arctic drilling in 1971, id. ¶¶ 335, a

Texaco entity “funded a paper by Dr. Soon in the 1990s,” id. ¶ 443, a Chevron March 2018 docu-

ment characterized a sentence from a public report in a way Plaintiffs disagree with, id. ¶ 498,

promoted cleaner fuel, id. ¶¶ 527(c), 534, advertised Chevron products, id. ¶ 546, and made pur-

portedly insufficient investment in renewable energy, id. ¶ 548.2

       The Amended Complaint also suggests that Chevron was somehow engaged in a scheme to

undermine the scientific consensus and sow doubt about climate science. In other words, the

Amended Complaint accuses Chevron of sharing its views about climate change in the public

square. And here, the allegations are exceedingly vague as to Chevron and entirely derivative of

others’ speech and actions. The Complaint asserts that “Chevron” (among others) promoted “junk

science” and “climate change denial,” Compl. ¶ 410 n.462, because it was, allegedly, a member

of the GCST that advocated to the public about climate change and climate science, id. ¶ 410, and

other “trade associations” allegedly formed to “conceal the dangers” of fossil-fuels id. ¶ 211; see

also Am. Racketeering Statement ¶ 2. It further accuses Chevron of allocating funds for lobbyists

to effect “narrative capture,” Compl. ¶ 516, while “purport[ing] to accept” climate science, id. ¶

592.

       This alleged departure from purported scientific consensus—to the extent the Amended Com-

plaint suggests Chevron had any role to play in the alleged “conspiracy” at all—forms the basis

for Plaintiffs’ attempt to impose massive liability against this select group of Defendants for a

scientific, public policy, and political problem in which every consumer and every government in



2
  The Amended Complaint suggests that Chevron’s alleged investment of “3% of the company’s capital expenditures”
on renewable energy is a small investment. But as the Amended Complaint admits, Chevron is a large company with
an alleged “$253.8 billion in total assets,” ¶ 127, making even a 3% investment in renewables massive.

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the world—including Plaintiffs—plays a part. Yet, Chevron itself is not alleged to have made any

specific statement as part of this “conspiracy.”

    B. The First Amendment Precludes the Amended Complaint’s Attempt to Hold
       Chevron Liable Under a Theory of “Group-Pleading” or Derivative Responsibility

    By seeking to punish Chevron (and the other Defendants) for attempting to influence govern-

ment action through lawful means and to advocate to the public about energy regulation and pro-

duction and climate change, the Amended Complaint violates the First Amendment’s bar against

liability for this protected speech and petitioning activity.

    Plaintiffs’ conclusory allegations of a “conspiracy” to mislead the consumers of Puerto Rico

are unavailing, because federal statutes prohibiting unlawful conspiracies to commit specifically

enumerated wrongful acts are no invitation to punish groups for their lawful political speech and

advocacy—simply because the government dislikes the message. See Libertad v. Welch, 53 F.3d

428, 443 (1st Cir. 1995) (observing that RICO liability “for mere membership in an association,

particularly when that association is ideological, may conflict with the First Amendment”), over-

ruled on other grounds as recognized by United States v. Velazquez-Fontanez, 6 F.4th 206, 213

n.2 (1st Cir. 2021); 303 Creative LLC v. Elenis, 600 U.S. 570, 586 (2023) (“[T]he First Amend-

ment protects acts of expressive association.”). These allegations cannot survive the scrutiny of

the First Amendment or its offshoot, the Noerr-Pennington doctrine.

    Chevron, like other speakers in the United States, has a First Amendment right to discuss

issues of public import in the public square, even in ways that the municipal governments here

might disagree with. Citizens United, 558 U.S. at 340; Snyder v. Phelps, 562 U.S. 443, 458 (2011)

(stating that First Amendment does not permit restrictions on protected speech “simply because it

is upsetting”). And the Supreme Court has been equally clear that First Amendment-protected

speech and petitioning rights extend to membership in groups, as “‘the practice of persons sharing

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common views banding together to achieve a common end is deeply embedded in the American

political process.’” Claiborne Hardware, 458 U.S. at 907 (quoting Citizens Against Rent Con-

trol/Coalition for Fair Housing v. Berkeley, 454 U.S. 290, 294 (1981)). As such, in a case alleging

liability for membership in a group, the plaintiff bears a heavy burden “of demonstrating that [un-

protected conduct] rather than protected conduct” caused the alleged harm. Id. Plaintiffs here may

not escape this requirement simply by alleging that “Defendants” are supposedly responsible for a

group’s conduct. See Santopietro v. Howell, 857 F.3d 980, 990 (9th Cir. 2017). Even if Plaintiffs

could theoretically show that some Defendants or members of any of the associations engaged in

unlawful conduct (an assumption which itself has no legal or factual support), it is well established

that “[t]he right to associate does not lose all constitutional protection merely because some mem-

bers of the group may have participated in conduct or advocated doctrine that itself is not pro-

tected.” Claiborne, 458 U.S. at 908 (citing De Jonge v. Oregon, 299 U.S. 353 (1937)). To survive

under Rule 12(b)(6), Plaintiffs would need to demonstrate that the Complaint adequately alleges

liability for Chevron’s own unprotected speech or acts, but Plaintiffs cannot do so.

    Plaintiffs presume that speech on matters of public concern can be punished when it allegedly

is contrary to “the scientific consensus.” But “the First Amendment protects an individual’s right

to speak his mind regardless of whether the government considers his speech sensible and well

intentioned or deeply misguided.” 303 Creative LLC v. Elenis, 600 U.S. at 586 (quotations omit-

ted). Plaintiffs misunderstand both the fundamental principles governing our free society, as well

as the First Amendment’s truth-seeking function, which rejects suppressing alleged “error” in fa-

vor of creating space to challenge it with counter-speech. The mere fact that speech is unpopular

today or allegedly is or was contrary to a scientific or professional “consensus”—however de-

fined—does not make it punishable or a proper basis for tort liability. “Professionals might have



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a host of good-faith disagreements, both with each other and with the government, on many topics

in their respective fields.” Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2374–

75 (2018). “[U]nder the regime of [the First] Amendment ‘we depend for ... correction not on the

conscience of judges and juries but on the competition of other ideas.’” Brown v. Hartlage, 456

U.S. 45, 61 (1982) (quoting Gertz v. Robert Welch, Inc., 418 U.S. 323, 339–40 (1974)); see also

United States v. Alvarez, 567 U.S. 709, 752 (2012) (Alito, J., dissenting) (“Even where there is a

wide scholarly consensus concerning a particular matter, the truth is served by allowing that con-

sensus to be challenged without fear of reprisal.”). “[T]he best test of truth is the power of the

thought to get itself accepted in the competition of the market, and the people lose when the gov-

ernment is the one deciding which ideas should prevail.” Nat’l Inst. of Fam. & Life Advocs., 138

S. Ct. at 2375 (internal quotation marks and citation omitted).

    The subject of climate change is no exception. In fact, as Justice Ginsburg observed in the

Supreme Court’s seminal case on climate change, American Electric Power Co., Inc. v. Connect-

icut, conflicting views on practical tradeoffs are the essential building blocks of sound regulatory

policy, not inconvenient expressions to be punished: “The appropriate amount of regulation in

any particular greenhouse gas producing sector cannot be prescribed in a vacuum: As with other

questions of national or international policy, informed assessment of competing interests is re-

quired. Along with the environmental benefit potentially achievable, our Nation’s energy needs

and the possibility of economic disruption must weigh in the balance.” 564 U.S. 410, 427 (2011)

(emphasis added).

    For the same reasons, the Noerr-Pennington doctrine plainly forbids holding Chevron liable

for alleged participation in groups based on the groups’ political advocacy. As discussed in the

Joint Motion To Dismiss, liability cannot arise from “petitioning” the government for policy



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change, including “indirect petitioning” such as “a publicity campaign directed at the general pub-

lic” that is “part of an effort to influence legislative or executive action.” Allied Tube & Conduit

Corp. v. Indian Head, Inc., 486 U.S. 492, 499, 503 (1988); see also United Mine Workers v. Pen-

nington, 381 U.S. 657, 669–70 (1965) (no liability for “a concerted effort to influence public offi-

cials”); Amphastar Pharms. Inc. v. Momenta Pharms., Inc., 850 F.3d 52, 56 (1st Cir. 2017) (Noerr-

Pennington “provides that a Sherman Act violation cannot be ‘predicated upon mere attempts to

influence the passage or enforcement of laws.’”). The allegations against Chevron and the sup-

posed “enterprise” seek to impose liability for protected petitioning activity, including supporting

“lobbying” on climate-related legislation, joining advocacy groups, engaging with political con-

sultants to achieve political objectives, and advocating policy goals to the public. Am. Compl.

¶¶ 211, 353–55, 362, 503, 504–05 & n.572, 516–18, 520, 581, 616, 736, 744. Noerr-Pennington

prohibits liability based on allegations like these.

II. The Amended Complaint Is Too Bereft of Allegations Against Chevron to Survive Un-
    der Any Standard, Let Alone the Applicable Rule 9(b) Heightened-Pleading Standard

    Aside from Plaintiffs’ improper attempt to hold Chevron liable for the speech and acts of

others, such as trade associations, the Amended Complaint contains no even arguably colorable

theory by which to hold Chevron liable. Plaintiffs’ allegations are governed by the heightened

pleading standard of Federal Rule of Civil Procedure 9(b) because they “effectively charge fraud.”

Foisie v. Worcester Polytechnic Inst., 967 F.3d 27, 49 (1st Cir. 2020) (citation omitted). But under

any standard, the Amended Complaint does not “contain enough factual material to ‘raise a right

to relief above the speculative level’” arising from any alleged activity of Chevron. Ocasio-Her-

nandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555 (2007)); see also Ashcroft v. Iqbal, 556 U.S. 662 (2009). Indeed, the allegations

amount to nothing more than rank speculation and outdated, time-barred assertions about various

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entities, many of which Plaintiffs even admit are not the same corporate entity as Chevron Corpo-

ration, the sole Chevron entity joined in this action.

    As discussed above, the allegations against Chevron to support its participation in a supposed

“conspiracy” amount to nothing more than a barren, conclusory list of non-actionable statements

that fail to state any plausible claim for relief. At most, the Complaint makes the wholly uncon-

troversial assertions that Chevron has transnational operations, Am. Compl. ¶¶ 120–32, and par-

ticipates in trade groups, id. ¶¶ 211, 410, 592, some of which are alleged to have or have had

certain goals for public persuasion and policy change, id. ¶¶ 207, 306, 366, 377.

    Beyond this meager list, no paragraph of the Amended Complaint suggests that Chevron en-

gaged in conduct satisfying the “basic elements of” any “cause of action.” Gonzalez-Camacho v.

Banco Popular de P.R., 318 F. Supp. 3d 461, 471 (D.P.R. 2018)). Such “threadbare assertions”

fail to permit any inference that Chevron committed a racketeering, antitrust, or Puerto Rico law

violation of any kind. Iqbal, 556 U.S. at 679. They certainly fail to meet Rule 9(b)’s particularity

requirement to show “the time, place and content of the alleged [actions] perpetrating that fraud.”

Caro-Bonet v. Lotus Mgmt., LLC, 195 F. Supp. 3d 428, 433 (D.P.R. 2016); see also Cordero-

Hernandez v. Hernandez Ballesteros, 449 F.3d 240, 244 (1st Cir. 2006). It is Plaintiffs’ burden to

allege with specificity that Chevron committed particular conduct that meets the “legal elements”

of their chosen causes of action. Comcast Corp. v. Nat'l Ass'n of Afr. Am.-Owned Media, 140 S.

Ct. 1009, 1014 (2020). The Amended Complaint’s allegations do not even come close.

    Any remaining “threadbare assertions” against Chevron are outdated and manifestly time-

barred. The Amended Complaint asserts that Chevron was a member of “Task Forces” and “Re-

search Committees” that Plaintiffs concede existed only “[t]hroughout the 1960s and through the

1980s.” Am. Comp. ¶ 728(a); see also Am. Racketeering Statement ¶ 8(b). And it suggests that



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Chevron was a member of a group in the 1970’s known as the “Seven Sisters,” who supposedly

controlled 85% of the world’s petroleum, id. ¶ 90, but the very same allegation admits even this

charge is not actually against Chevron, as it really lists a number of “predecessor companies” that

once formed the “Seven Sisters,” some of which it alleges are “now Chevron,” id. & n.36. Thus,

the Amended Complaint’s attempt to draw Chevron into an alleged conspiracy fails to make any

connection between today’s Chevron Corporation and the entities that once allegedly formed the

“Seven Sisters”—setting aside that the allegations give rise to no liability to begin with, see Inter-

Gen N.V. v. Grina, 344 F.3d 134, 149–50 (1st Cir. 2003) (federal law “instruct[s] federal courts

that the corporate form” yields only to “compelling policy objective[s]”).

    Plaintiffs further fail to allege a single fact showing how Chevron participated in the alleged

RICO “enterprise,” and Plaintiffs in fact concede that the purported “enterprise,” the GCC—which

represented a broad spectrum of U.S. industry, including agriculture, utilities, oil, gas, railroads,

automobiles, chemicals, mining, minerals, and broad business groups—disbanded in 2002. Am.

Racketeering Statement ¶¶ 2(b), 8(b)(ii); see also Democratic Nat’l Comm. v. Russian Fed’n, 392

F. Supp. 3d 410, 440 (S.D.N.Y. 2019) (“A plaintiff may not simply ‘string’ [ ] together . . . various

defendants and label[ ] them an enterprise.”) (quoting Town of Mamakating, v. Lamm, No. 15-cv-

2865, 2015 WL 5311265, at *9 (S.D.N.Y. Sept. 11, 2015)). And they fail to even allege that

Chevron supported the statements or allegedly “unlawful” aims of these various trade associations

and lobbying groups. See In re Asbestos School Litig., 46 F.3d 1284, 1290 (3d Cir. 1994) (Alito,

J.) (recognizing that, generally, a “member of a trade group or other similar organization does not

necessarily endorse everything done by that organization or its members”). Nothing remains to

draw Chevron into any purported “conspiracy.” As explained in the Joint Motion to Dismiss, no

conspiracy has been adequately alleged to exist: At most, Defendants participated in lawful trade



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groups and advocacy associations that themselves engaged in First Amendment-protected conduct.

And no allegation—specific or general—about Chevron changes this fact, because, quite simply,

Chevron is virtually absent from almost the entirety of the Amended Complaint’s corpus, and is

instead lumped generically as among the non-specific “Defendants” supposedly responsible for all

manner of undifferentiated speech and activities.

    In their Opposition, Plaintiffs will be unable to demonstrate how the Amended Complaint

states a claim against Chevron based on anything Chevron itself is alleged to have said or done,

much less particularity, as required by Rule 9(b). Because the Amended Complaint lacks any

remotely plausible allegations against Chevron in particular, it should be dismissed as to Chevron.

III. The Amended Complaint Should Be Dismissed With Prejudice

    The Amended Complaint should be dismissed with prejudice. An amendment would be futile

where “the complaint, as amended, would fail to state a claim upon which relief could be granted.”

Rife v. One W. Bank, F.S.B., 873 F.3d 17, 21 (1st Cir. 2017) (quotations omitted). Plaintiffs already

amended once but failed to cure the original Complaint’s myriad pleading defects. There are no

new facts that Plaintiffs could allege that would render their claims timely or otherwise viable.

Plaintiffs’ counsel has had years to investigate Plaintiffs’ claims. Indeed, they have acknowledged

that they “work[ed] with Puerto Rico public officials” to “conduct[] a three year investigation”

into Defendants’ potential liability. Chevron’s Mot. for Judicial Notice, Ex. A at 14 (proposal

attached to publicly-available engagement agreement between Milberg and Plaintiff Municipality

of Vega Baja). That investigation began no later than 2018 or 2019, and likely earlier. See id. at

1 (contract dated November 2022); see also id. at 23 (attached proposal noting the 2018 trial-level

dismissals in City of New York v. BP, PLC, 325 F. Supp. 3d 466 (S.D.N.Y. 2018), aff’d sub nom.

City of New York v. Chevron Corp., 993 F.3d 81 (2d Cir. 2021) and City of Oakland v. BP PLC,


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325 F. Supp. 3d 1017, 1019 (N.D. Cal. 2018), vacated and remanded, as amended, 969 F.3d 895

(9th Cir. 2020) took place “last year”). Given Plaintiffs’ counsel’s multi-year investigation and

involvement, Plaintiffs cannot possibly claim in good faith that there are any new facts that they

could allege that would cure the Amended Complaint’s statute of limitations problems or other

fatal pleading defects.

                                         CONCLUSION

    For these reasons, as well as for those stated in Defendants’ Joint Motion to Dismiss, the

Amended Complaint should be dismissed with prejudice.

    RESPECTFULLY SUBMITTED.

    In San Juan, Puerto Rico, this 30th day of January 2024.

    CERTIFICATE OF SERVICE: I, Roberto C. Quiñones-Rivera, certify that, on the above

date, I filed this document with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record registered in the system.




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                               By: Roberto C. Quiñones-Rivera
                               Roberto C. Quiñones-Rivera
                               USDC-PR Bar No. 211512
                               Eduardo A. Zayas-Marxuach
                               USDC-PR Bar No. 216112
                               Myrgia M. Palacios-Cabrera
                               USDC-PR Bar No. 230807
                               MCCONNELL VALDÉS LLC
                               P.O. Box 364225
                               San Juan, PR 00936-4225
                               Telephone: 787-250-2631
                               Facsimile: 787-474-9201
                               E-mail: rcq@mcvpr.com

                               Theodore J. Boutrous, Jr. (pro hac vice)
                               William E. Thomson (pro hac vice)
                               Joshua D. Dick (pro hac vice)
                               GIBSON, DUNN & CRUTCHER LLP
                               333 South Grand Avenue
                               Los Angeles, CA 90071
                               Telephone: (213) 229-7000
                               E-mail: tboutrous@gibsondunn.com
                               E-mail: wthomson@gibsondunn.com
                               E-mail: jdick@gibsondunn.com

                               Thomas G. Hungar (pro hac vice)
                               GIBSON, DUNN & CRUTCHER LLP
                               1050 Connecticut Avenue NW
                               Washington, DC 20036
                               Telephone: (202) 887-3784
                               E-mail: thungar@gibsondunn.com

                               Neal S. Manne (pro hac vice)
                               Erica Harris (pro hac vice)
                               SUSMAN GODFREY LLP
                               1000 Louisiana, Suite 5100
                               Houston, TX 77002
                               Telephone: 713.651.9366
                               Facsimile: 713.654.6666
                               E-mail: nmanne@susmangodfrey.com
                               E-mail: eharris@susmangodfrey.com

                           Attorneys for Defendant CHEVRON CORPORATION


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